            Case 9:06-cv-00075-JVS Document 26 Filed 09/20/06 Page 1 of 2




                                                                  BY --             .. -    -
                                                                       L E I bT': i i-L:di(
                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF MONTANA

                                             MISSOULA DMSION



JERROLD G. COOLEY, JOLEE COOLEY,                      1
MICHAEL J. COOLEY, and KAILEY                         )
COOLEY,                                               )
                                                      )   Cause No. 06-75-M-NS
        Plaintiffs,                                   )
                                                      )   Hon. James V. Selna
                                                      )
                                                      )   PROTECTIVE ORDER
CITY OF MISSOULA, CITY OF
MlSSOULA POLICE DEPARTMENT,                           )   Re: Confidential Information
MISSOULA COUNTY, MISSOULA                             )       And Documents
COUNTY SHERIFF'S DEPARTMENT,                          )
CHTEF WICKMAN, OFFICER
McCARTHY, OFFICER SERBA,
SERGEANT RICHARDSON, SHERIFF                          1
McMEEKIN, DEPUTY MEEDER, DEPUTY
WHITE, DEPUTY STINEFORD, and DOES
A-Z,                                                  )
                                                      )
        Defendants.                                   )




         Having reviewed the Stipulated Protective Order proposed and agreed to by

counsel for all ,parties hereto and good cause appearing, it is hereby ORDERED that the

Stipulated Protective Order shall be deemed an Order of this Court. Further, to the extent

1.                                     -
          PROTECTIVE ORDER Re: Confidential Information And Documc I&,
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         Case 9:06-cv-00075-JVS Document 26 Filed 09/20/06 Page 2 of 2




the personnel files of the individually named Defendants are in the possession, custody,

or control of persons or entities other than the Defendants themselves, those persons and

entities having possession, custody, or control of the files are Ordered to provide a

complete and accurate copy of each personnel file to counsel of record for the

individually named Defendants.

      DATED this     36 kI day of      &7-       8   6 ,2006.




                                                            Judge ~ a r n Selna
                                                                          n
                                                           District Co Judge
